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831 E. MOREHEAD ST, SUITE 860
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

GOLDWATER BANK, N.A.

Plaintiff(s)
V.

ARTUR ELIZAROV, et al.

Defendant(s).

CASE NUMBER
5:21-CV-00616-JWH-SP

 

 

ORDER ON APPLICATION OF NON-
RESIDENT ATTORNEY TO APPEAR INA
SPECIFIC CASE PRO HAC VICE

 

The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

Krysak, Abbey M.

 

of | Wagner Hicks PLLC

 

Applicant’s Name (Last Name, First Name & Middle Initial
(704) 705-7942 (704) 705-7787

831 E Morehead St, Suite 860
Charlotte, NC 28202

 

Telephone Number Fax Number

 

 

 

E-Mail Address

 

Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of

Goldwater Bank, N.A.

 

 

Name(s) of Party(ies) Represent

and designating as Local Counsel

v Plaintiff(s) O Defendant(s) OC Other:

 

 

 

 

 

 

 

Hilbert, John F. of | Hilbert & Satterly LLP
Designee’s Name (Last Name, First Name & Middle Initial 409 Camino del Rio S. #104
105827 (619) 795-0300 (619) 501- San Diego, CA 92108
6855

Designee’s Cal. Bar No. Telephone Number Fax Number

E-Mail Address Firm/Agency Name & Address

HEREBY ORDERS THAT the Application be:

LIGRANTED
[CYDENIED: for failure to pay the required fee.

for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

 

pursuant to L.R. 83-2.1.3.2: J Applicant resides in California; L] previous Applications listed indicate Applicant

is regularly employed or engaged in business, professional, or other similar activities in California.

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C1 for failure to complete Application:
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Ly

pursuant to L.R. 83-2.1.3.4; Local Counsel: C1 is not member of Bar of this Court; EJ does not maintain office

District.

CL) because

 

IT IS HEREBY FURTHER ORDERED THAT the Application fee, if

refunded.

Dated: October 7, 2022
G-64 Order (05/16)

ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE

  

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